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                  UNITED STATES DISTRICT COURT FOR THE
                        DISTRICT OF NEW HAMPSHIRE



United States of America

      v.                                  Criminal No. 02-22-JD

Jerome Griffin


                                PROCEDURAL ORDER


      In view of the fact that I have twice reviewed the

defendant's request for a sentence reduction and denied the same

based on my interpretation of the record, I think it is

appropriate that any subsequent review pursuant to the mandate of

the court of appeals be conducted by another judge.               Therefore, I

recuse myself from further consideration of this matter and this

case.

      SO ORDERED.



                                          ____________________________
                                          Joseph A. DiClerico, Jr.
                                          United States District Judge

November 24, 2009
cc:   Andrew M. Gallagher, Esquire
      Richard F. Monteith, Jr., Esquire
      Terry L. Ollila, Esquire
      R. Brian Snow, Esquire
      Lawrence A. Vogelman, Esquire
      Jerome Griffin, pro se
